      Debtors may request to receive Court notices and orders by email instead of U.S. mail. Sign Up at www.canb.uscourts.gov

 Information to identify the case:

 Debtor         International Longshore and Warehouse
                Union                                                                       EIN:   94−0577594

                Name

 United States Bankruptcy Court       California Northern Bankruptcy Court                  Date case filed for chapter:       11      9/30/23

            23−30662
 Case number:

Official Form 309F2 (For Corporations or Partnerships under Subchapter V)
AMENDED Notice of Chapter 11 Bankruptcy Case                                                                                                           10/20

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 12 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at pacer.uscourts.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                           International Longshore and Warehouse Union


  2. All other names used in the dba ILWU
     last 8 years

                                                  1188 Franklin Street
  3. Address                                      4th Floor
                                                  San Francisco, CA 94109

  4. Debtor's attorney                            Jason Rosell
       Name and address                           Pachulski Stang Ziehl & Jones LLP
                                                  One Sansome Street                                     Contact phone 415−263−7000
                                                  34th Floor, Suite 3430
                                                  San Francisco, CA 94104−4436

  5. Bankruptcy trustee                           Mark M. Sharf                                          Contact phone 818−961−7170
      Name and address                            6080 Center Dr., #600
                                                  Los Angeles, CA 90045                                  Email: mark@sharflaw.com


  6. Bankruptcy clerk's office                    Mailing Address:                                        Hours open:
                                                                                                          Monday − Friday 9:00 am to 4:30 pm
       Documents in this case may be filed        U.S. Bankruptcy Court
      at this address. You may inspect all        450 Golden Gate Avenue, 18th Fl.
      records filed in this case at this office                                                           Contact phone (888) 821−7606
      or online at                                Mail Box 36099
      "https://pacer.uscourts.gov.                San Francisco, CA 94102                                 Date: 10/3/23

                                                                                                              For more information, see page 2




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Debtor International Longshore and Warehouse Union                                                                                Case number 23−30662


  7. Meeting of creditors                                                                                   Via Tele/Videoconference
       The debtor's representative must
                                             October 24, 2023 at 09:00 AM
      attend the meeting to be                                                                              Mark M. Sharf
      questioned under oath.                 The meeting may be continued or adjourned to a later           Call in number/URL: 1−877−991−8832
      Creditors may attend, but are not      date. If so, the date will be on the court docket.             Passcode: 4101242
      required to do so.
      Important Notice to Individual Debtors: The United States Trustee requires all debtors who are individuals to provide
      government−issued photo identification and proof of social security number to the trustee at the meeting of creditors. Failure to Appear May
      Result in the Dismissal of the Case without further notice. A request for a continuance or to be excused from appearing must be made in
      writing at least 7 days before the meeting, timely filed with the court at the address above in box 6 and served by mail on the trustee at the
      address above in box 5.


  8. Proof of claim deadline                   Deadline for filing proof of claim:
                                               For all creditors (except a governmental                       12/11/23
      For a bankruptcy case                    unit):
      pending in the Northern                  A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
      District of California, a Proof          at www.uscourts.gov or any bankruptcy clerk's office.
      of Claim may be filed                    Your claim will be allowed in the amount scheduled unless:
      electronically online at
      www.canb.uscourts.gov In
      the Quick Links section,                 • your claim is designated as disputed, contingent, or unliquidated;
      click on "File an Electronic             • you file a proof of claim in a different amount; or
      Proof of Claim."                         • you receive another notice.

                                               If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                               must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a
                                               plan. You may file a proof of claim even if your claim is scheduled.

                                               You may review the schedules at the bankruptcy clerk's office or online at pacer.uscourts.gov.

                                               Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                               proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer
                                               can explain. For example, a secured creditor who files a proof of claim may surrender important
                                               nonmonetary rights, including the right to a jury trial.


  9. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it
     deadline                                 excepted from discharge, you must start a judicial
       The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any             below.
      required filing fee by the following    Deadline for filing the complaint:
      deadline.


                                               If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  10. Creditors
      address
                with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                               have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  11. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. The debtor will
                                             generally remain in possession of the property and may continue to operate the debtor's business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  12. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying thefiling fee in the bankruptcy clerk's office by the deadline.




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